     Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 1 of 20




             IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF PUERTO RICO



BERKEY INTERNATIONAL, LLC,             Civil No. 3:24-cv-01106-CVR

          Plaintiff,
     v.

ENVIRONMENTAL PROTECTION
AGENCY, et al.

          Defendants.




  APPENDIX TO DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S
               MOTION FOR PRELIMINARY INJUNCTION




                                       TODD KIM
                                       Assistant Attorney General
                                       Environment & Natural Resources Division


                                       Shari Howard (D.P.R. No. G04015)
                                       Mark Walters (Texas Bar No. 00788611)
                                       United States Department of Justice
                                       Environment & Natural Resources Division
                                       Environmental Defense Section
                                       P.O. Box 7611
                                       Washington, D.C. 20002
                                       Tel: (202) 598-9407
                                       Fax: (202) 514-8865
                                       shari.howard@usdoj.gov
                                       mark.walters@usdoj.gov
                                       Attorneys for Defendants
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 2 of 20




                 EXHIBIT 1
            Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 3 of 20
                                                                                                         5/8/2023

                                                                                                         4:42 PM

                  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY                                        5HFHLYHGE\
                                      REGION 8                                                       (3$5HJLRQ9,,,
                                                                                                      +HDULQJ&OHUN

 IN THE MATTER OF:                                 )
                                                   )            Docket No. FIFRA-08-2023-0038
 Berkey International LLC                          )
                                                   )            FIFRA SECTION 13(a)
 Royal Industrial Park, B-2                        )
 869 Km 1.5, Barrio Palmas                         )            STOP SALE, USE, or
 Catano, Puerto Rico 00962                         )            REMOVAL ORDER
                                                   )
 PO Box 2206,                                      )
 Orocovis, Puerto Rico 00720                       )
                                                   )
 Respondent.                                       )


                                             I.        AUTHORITY

1. This Stop Sale, Use, or Removal Order (Order) is issued pursuant to the authority vested in the
   Administrator of the United States Environmental Protection Agency by section 13(a) of the Federal
   Insecticide, Fungicide, and Rodenticide Act, as amended (FIFRA), 7 U.S.C. § 136k(a), which
   authorizes the Administrator of EPA to issue an order prohibiting the sale, use, or removal of any
   pesticide or device by any person who owns, controls, or has custody of such pesticide or device
   whenever there is reason to believe that the pesticide or device is in violation of any provision of
   FIFRA or the pesticide or device has been or is intended to be distributed or sold in violation of any
   provision of FIFRA.

2. The undersigned EPA official has been duly authorized to issue this Order.

                                       II.        GOVERNING LAW

3. Section 12(a)(1)(A) of FIFRA, 7 U.S.C. § 136j(a)(1)(A), provides that it shall be unlawful for any
   person in any state to distribute or sell to any person any pesticide that is not registered under section
   3 of FIFRA, 7 U.S.C. § 136a.

4. Section 12(a)(1)(E) of FIFRA, 7 U.S.C. § 136j(a)(1)(E), provides that it shall be unlawful for any
   person in any state to distribute or sell to any person any pesticide that is misbranded.


5. Section 2(s) of FIFRA, 7 U.S.C. § 136(s), defines a “person” as “any individual, partnership,
   association, corporation, or any organized group of persons whether incorporated or not.”

6. Section 2(t) of FIFRA, 7 U.S.C. § 136(t), defines “pest,” in part, as any “form of terrestrial or
   aquatic plant or animal life or virus, bacteria, or other microorganism (except viruses, bacteria, or
   other microorganisms on or in living man or other living animals) which the Administrator declares
   to be a pest under section 25(c)(1).”


                                                       App. 1
            Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 4 of 20



7. Pursuant to the authority in section 25(c)(1) of FIFRA, 7 U.S.C. § 136w(c)(1), the Administrator
   established that “an organism is declared to be a pest under circumstances that make it deleterious to
   man or the environment, if it is: . . . [a]ny fungus, bacterium, virus, prion, or other microorganism,
   except for those on or in living man or other living animals and those on or in processed food or
   processed animal feed, beverages, drugs … and cosmetics . . . .” 40 C.F.R. § 152.5(d).

8. Section 2(h) of FIFRA, 7 U.S.C. § 136(u), defines “pesticide” as “(1) any substance or mixture of
   substances intended for preventing, destroying, repelling, or mitigating any pest, (2) any substance
   or mixture of substances intended for use as a plant regulator, defoliant, or desiccant, and (3) any
   nitrogen stabilizer….”

9. Section 2(gg) of FIFRA, 7 U.S.C. § 136(gg), defines “to distribute or sell” as “to distribute, sell,
   offer for sale, hold for distribution, hold for sale, hold for shipment, ship, deliver for shipment,
   release for shipment, or receive and (having so received) deliver or offer to deliver.”

10. The regulation at 40 C.F.R. § 152.3 further defines the term “distribute or sell” as “the acts of
    distributing, selling, offering for sale, holding for sale, shipping, holding for shipment, delivering for
    shipment, or receiving and (having so received) delivering or offering to deliver, or releasing for
    shipment to any person in any state.”

11. Section 2(p) of FIFRA, 7 U.S.C. § 136(p), defines “label” as “the written, printed, or graphic matter
    on, or attached to, the pesticide or device or any of its containers or wrappers” and defines “labeling”
    in part, as “all labels and all other written, printed, or graphic matter (A) accompanying the pesticide
    or device at any time; or (B) to which reference is made on the label or in literature accompanying
    the pesticide.”

12. Section 2(q)(1) of FIFRA, 7 U.S.C. § 136(q)(1), provides that, among other reasons, a pesticide is
    misbranded if:

       (A) its labeling bears any statement, design, or graphic representation relative thereto or to its
       ingredients which is false and misleading in any particular;

       (B) it is contained in a package or other container or wrapping which does not conform to the
       standards established by the Administrator pursuant to section 136w(c)(3) of this title;

       (C) it is an imitation of, or is offered under the name of, another pesticide;

       (D) its label does not bear the registration number assigned under section 136e of this title
       [FIFRA section 7] to each establishment in which it was produced;

       (E) any word, statement, or other information required by or under authority of this subchapter to
       appear on the label or labeling is not prominently placed thereon with such conspicuousness (as
       compared with other words, statements, designs, or graphic matter in the labeling) and in such
       terms as to render it likely to be read and understood by the ordinary individual under customary
       conditions of purchase and use;


                                                          2



                                                   App. 2
           Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 5 of 20



       (F) the labeling accompanying it does not contain directions for use which are necessary for
       effecting the purpose for which the product is intended and if complied with, together with any
       requirements imposed under section 136a(d) of this title [FIFRA section 3(d)], are adequate to
       protect health and the environment; [or]

       (G) the label does not contain a warning or caution statement which may be necessary and if
       complied with, together with any requirements imposed under section 136a(d) of this title
       [FIFRA section 3(d)], is adequate to protect health and the environment[.]

13. Section 2(q)(2) of FIFRA, 7 U.S.C. § 136(q)(2), provides that, among other reasons, a pesticide is
    misbranded if:

       (C) there is not affixed to its container, and to the outside container or wrapper of the retail
       package, if there be one, through which the required information on the immediate container
       cannot clearly be read, a label bearing—
               (i) the name and address of the producer, registrant, or other person for whom produced;
               (ii) the name, brand, or trademark under which the pesticide is sold;
               (iii) the net weight or measure of the content, except that the Administrator may permit
               reasonable variations; and
               (iv) when required by regulation of the Administrator to effectuate the purposes of this
               subchapter, the registration number assigned to the pesticide under this subchapter, and
               the use classification[.]

14. FIFRA’s labeling requirements at 40 C.F.R. part 156 require that labels for pesticide products must
    contain several pieces of information, including the producing establishment number, hazard and
    precautionary statement, and directions for use. 40 C.F.R. § 156.10(a).

                                  III.    BASIS FOR THE ORDER

15. Respondent, Berkey International LLC, is a limited liability company organized under the laws of
    Puerto Rico and is therefore a “person” as that term is defined by section 2(s) of FIFRA, 7 U.S.C.
    § 136(s), subject to FIFRA and its implementing regulations.

16. On November 22, 2022, a representative of the EPA inspected the facility of James Enterprise Inc.
    doing business as Berkey Filters (JEI), located at 1976 Aspen Circle, Pueblo, Colorado 81006, to
    determine compliance with FIFRA.

17. At that November 2022 inspection, the EPA observed Black Berkey Filters and products
    containing Black Berkey Filters being held for distribution and sale.

           a.

18. The Black Berkey Filter product is a water filtration unit that is used in multiple products and may
    be purchased as part of those products or on its own.



                                                       3



                                                 App. 3
           Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 6 of 20



19. Travel Berkey Water Filters, Big Berkey Water Filters, Royal Berkey Water Filters, Imperial
    Berkey Water Filters and Crown Berkey Water Filters (Black Berkey Filter Products) are sold
    with Black Berkey Filters inserted in the apparatus.

20. At the November 2022 inspection, EPA Inspectors observed that the Black Berkey Filter labeling
    included the following language:
              “Black Berkey Purification Elements:
                      VIRUSES: >99.999%
                      PATHOGENIC BACTERIA (AND SURROGATES)
                      >99.9999% -Exceeds Purification Standard (Log 6): Bacillius atrophaeus
                      (Anthrax Surrogate)”.

21. At the time of the November 2022 inspection, the EPA observed the following statements regarding
    Black Berkey Filter Products on the website, https://www.berkeyfilters.com/products/black-
    berkey-filter:

       a. “Composition[:] Black Berkey Filters are made of a carbon composite containing high-grade
       coconut shell carbon combined with a proprietary blend of 5 other types of media.”
       b. “Our Black Berkey® Filters (sometimes called Black Berkey Elements) are world famous for
       good reasons. Read below to learn how the Black Berkey® Filters used in all of our systems
       make purified water. It’s a more encompassing level of H20 filtration!”
       c. “The Black Berkey Filters used in all of our systems take water filtration to a whole new level!
       During testing conducted by independent, EPA-approved laboratories, the Black Berkey Filters
       removed a long list of water contaminants with never-before-seen results and significantly raised
       the standard for the water filter industry.”
       d. “A pair of Black Berkey Filters comes standard in all of Berkey Water Filter Systems,
       including the Big Berkey.”
       e. “When drinking water that’s been filtered using a Black Berkey Filter, you can rest assured
       that your water is clean and safe for consumption. In fact, Black Berkey purification elements are
       far more powerful compared to competitors’ water filters.”
       f. “We tested the filters with more than 10,000 times the concentration of harmful pathogens per
       liter of water than is required by industry-standard test protocols. This concentration of
       pathogens is so high that the water exiting the filters should be expected to contain a
       concentration of 100,000 or more pathogens per liter (99.99% reduction — the requirement in
       order to be classified for pathogenic removal).”
       g. “Incredibly, Black Berkey water filter elements removed 100% of the pathogens.”
       h. “After using the Black Berkey Filters, absolutely no pathogens were found in the effluent or
       were able to be detected. This set a new standard, allowing us to classify all systems containing
       the Black Berkey Filters as purifiers.”

22. At the time of the November 2022 inspection, the EPA observed the following statements regarding
    Black Berkey Filter Products on the website, https://berkey-store.com/en/faq/faq-water-filter-
    black-berkey/faq-silver-black-berkey-water-filter.html:




                                                        4



                                                 App. 4
           Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 7 of 20



                “Yes, silver is used as an antimicrobial to self-sterilize the Black Berkey® elements.
                Testing was conducted both internally and by Analytical Services, Inc. to ensure that the
                silver used does not leach into the purified water.”

23. These claims indicate that Black Berkey Filter Products are substances or mixtures of substances
    intended for preventing, destroying, repelling, or mitigating any pest, and thus, pesticides pursuant
    to section 2(h) of FIFRA, 7 U.S.C. § 136(u).

24. None of the Black Berkey Filter Products are registered with the EPA.

25. None of the Black Berkey Filter Product labels bear a registration number assigned under FIFRA
    section 7 to the establishment in which the products were produced, making them misbranded
    pursuant to section 2(q)(1)(D) of FIFRA, 7 U.S.C. § 136(q)(1)(D).

26. As a result of that November 2022 inspection, the EPA issued a Stop Sale, Use, or Removal Order,
    FIFRA-08-2023-0011, pursuant to the authority of section 13(a) of FIFRA, 7 U.S.C. § 136k(a), and
    ordered JEI to immediately cease the sale, use, or removal of all Berkey Black Filter Products,
    Sport Berkey Replacement Filters, and Sport Berkey Water Bottle units under its ownership,
    control, or custody, wherever such products are located, except in accordance with the provisions of
    the Stop Sale, Use, or Removal Order, FIFRA-08-2023-0011.

27. As part of the investigation related to the Stop Sale, Use, or Removal Order, FIFRA-08-2023-0011,
    the EPA received information related to the products referenced in the FIFRA Stop Sale, Use, or
    Removal Order, FIFRA-08-2023-0011.

28. EPA has information demonstrating the following:

           a.   Respondent sold or distributed Big Berkey Water Filters;
           b.   Respondent sold or distributed Travel Berkey Water Filters;
           c.   Respondent sold or distributed Crown Berkey Water Filters;
           d.   Respondent sold or distributed Imperial Berkey Water Filters;
           e.   Respondent sold or distributed Royal Berkey Water Filters; and
           f.   Respondent sold or distributed Travel Berkey Water Filters:

29. Accordingly, EPA has reason to believe that Respondent sold or distributed the following Berkey
    Black Filter Products: Travel Berkey Water Filters, Big Berkey Water Filters, Royal Berkey
    Water Filters, Imperial Berkey Water Filters, and Crown Berkey Water Filters.

30. EPA has reason to believe Respondent distributed or sold, and continues to distribute or sell, the
    unregistered pesticides, Black Berkey Filter Products in violation of section 12(a)(1)(A) of
    FIFRA, 7 U.S.C. § 136j(a)(1)(A).

31. EPA has reason to believe Respondent distributed or sold, and continues to distribute or sell, the
    misbranded pesticides Black Berkey Filter Products in violation of section 12(a)(1)(E) of FIFRA,
    7 U.S.C. § 136j(a)(1)(E).


                                                        5



                                                  App. 5
           Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 8 of 20



                                            IV.     ORDER

32. Pursuant to the authority of section 13(a) of FIFRA, 7 U.S.C. § 136k(a), EPA hereby orders
    Respondent to immediately cease the sale, use, or removal of all Black Berkey Filter Products,
    under its ownership, control, or custody, wherever such products are located, except in accordance
    with the provisions of this Order.

33. The Black Berkey Filter Products shall not be sold, offered for sale, held for sale, shipped,
    delivered for shipment, received; or, having been so received, delivered, offered for delivery, moved,
    or removed, for any reason, other than in accordance with the provisions of this Order and any
    provisions of any written modifications to this Order.

34. Should Respondent seek an exception to this Order’s prohibitions, Respondent may submit a request
    to EPA, in accordance with the following:

                  a) Requests must be made in writing by electronic mail to Christine Tokarz,
                     Enforcement and Compliance Assurance Division, United States Environmental
                     Protection Agency, at tokarz.christine@epa.gov.

                  b) Any request for movement or removal must include a written accounting of the
                     products to be moved, including the quantity (type, number, and volume of
                     containers) to be moved, the address of the facility from which the products will
                     be moved, the address of the destination facility, and an explanation of the
                     reasons for the request.

                  c) If the movement or removal is for the purposes of disposal, Respondent must
                     provide written proof of disposal to EPA, including proof of compliance with all
                     applicable federal, state, and local laws.

                  d) Any movement or removal of any Black Berkey Filter Products made without
                     prior written authorization from EPA in accordance with this paragraph
                     constitutes a violation of this Order and the distribution or sale of an unregistered
                     and misbranded pesticide in violation of FIFRA.

35. Within 30 days of receipt of this Order, Respondent must submit to EPA a written accounting of the
    Black Berkey Filter Products subject to this Order. The accounting must be submitted to Christine
    Tokarz, at the e-mail address above, and must include the following:

                  a) The complete list of media used in the composition of Black Berkey Filters.

                  b) An accounting of all existing product inventory at any of Respondent’s facilities
                     or warehouses, including the location(s) where the products are held, quantities,
                     and container sizes;

                  c) A list of each shipment of the Black Berkey Filter Products en route to any of
                     Respondent’s establishments from any person on or after the date of this Order.
                     The list shall include the quantities being shipped, including number and types of
                     containers, and amount held by each type of container, the name and address or
                                                        6



                                                  App. 6
           Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 9 of 20



                       addresses from which the shipment was shipped and the destination
                       establishment(s); and

                   d) A list of each shipment of Black Berkey Filter Products en route from any of
                      Respondent’s establishments to any person on or after the date of this Order. The
                      list shall include the quantities being shipped, including number and types of
                      containers, and amounts held by each type of container, the establishment from
                      which the shipment was shipped and the destination establishment(s).

36. Respondent must provide EPA with an updated accounting at least every 30 days thereafter until
    Respondent no longer has any Black Berkey Filter Products in its ownership, custody or control.

37. The information requested herein must be provided whether Respondent regards part or all of it as a
    trade secret or confidential business information. Respondent is entitled to assert a claim of business
    confidentiality in accordance with the regulations at 40 C.F.R. § 2.203(b) by labeling such
    information at the time it is submitted to EPA as “trade secret” or “proprietary” or “company
    confidential” or other suitable notice. Information subject to a properly made claim of business
    confidentiality will be disclosed by EPA to the public only in accordance with the procedures set
    forth at 40 C.F.R. part 2, subpart B. If Respondent does not make a proper claim at the time that it
    submits the information in the manner described in 40 C.F.R. § 2.203(b), EPA may make this
    information available to the public without further notice to Respondent.

                                      V.      OTHER MATTERS

38. Respondent may seek federal judicial review of this Order pursuant to section 16 of FIFRA,
    7 U.S.C. § 136n.

39. The issuance of this Order shall not constitute a waiver by EPA of its remedies, either judicial or
    administrative, under FIFRA or any other federal environmental law to address this matter or any
    other matters or unlawful acts not specified in this Order.

40. This Order shall be effective immediately upon receipt by Respondent or any of Respondent’s
    agents.

41. Section 12(a)(2)(I) of FIFRA, 7 U.S.C. § 136j(a)(2)(I), provides that it shall be unlawful for any
    person to violate any order issued under section 13 of FIFRA.

42. This Order shall remain in effect unless and until revoked, terminated, suspended, or modified in
    writing by EPA.

43. If any provision of this Order is subsequently held to be invalid, illegal, or unenforceable, the
    validity, legality and enforceability of the remaining provisions shall not in any way be affected or
    impaired thereby and they shall remain in full force and effect.




                                                         7



                                                  App. 7
       Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 10 of 20



                       UNITED STATES
                       ENVIRONMENTAL PROTECTION AGENCY REGION 8



                                                  Digitally signed by
                            DAVID                 DAVID COBB
                                                  Date: 2023.05.04
Date: _____________         COBB
                       By: ____________________________________________________
                                                  18:07:03 -06'00'
                           David Cobb, Section Supervisor
                           Toxics and Pesticides Enforcement Section
                           Enforcement and Compliance Assurance Division




                                           8



                                     App. 8
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 11 of 20




                 EXHIBIT 2
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 12 of 20




                UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF TEXAS
                    FORT WORTH DIVISION

JAMES SHEPHERD, ET AL.,

     Plaintiffs,

v.                                                 No. 4:23-cv-00826-P

MICHAEL S. REGAN, ADMINISTRATOR
OF THE ENVIRONMENTAL PROTECTION
AGENCY, ET AL.,

     Defendants.

               MEMORANDUM OPINION & ORDER
     Before the Court is Plaintiffs’ amended request for a Preliminary
Injunction filed August 24, 2023. ECF No. 14. On October 25, 2023, this
Court issued an Order advancing Plaintiffs’ Amended Motion for
Preliminary Injunction to a determination on the merits. ECF No. 30.
However, due to Plaintiffs’ lack of standing to bring this case, the Court
must DISMISS Plaintiffs’ claims.

                          BACKGROUND
   This case centers around the Environmental Protection Agency’s
(“EPA”) issuance of a Stop, Sale, Use, or Removal Order (“SSURO”) to
manufacturers and sellers of Berkey water filtration products.
   In 2022, the EPA became aware that Berkey water filtration systems
contain silver for antimicrobial purposes. The EPA has regulated silver
in microbial pesticide products since 1954. After investigating, the EPA
determined Berkey water filtration systems are not registered as
required by the Federal Insecticide Fungicide and Rodenticide Act
(“FIFRA”). Between December 2022 and March 2023, the EPA issued
SSUROs to certain third-party distributors and manufactures of Berkey
filtration products. These SSUROs required each recipient to stop the
sale, use, and distribution of the offending products, and to provide the
EPA with an update on compliance with the SSURO every thirty days
until the offender no longer had FIFRA-violating products.



                                 App. 9
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 13 of 20




   In August 2023, Plaintiffs James Shepherd, on behalf of the James
B. Shepherd Trust, and New Millennium Concepts, LTD (“NMCL”) filed
this suit against the EPA. In their lawsuit, Plaintiffs requested a
temporary restraining order (“TRO”), along with preliminary and
permanent injunctions estopping the EPA from issuing SSUROs
pertaining to the Berkey filtration systems. But neither Shepherd nor
NMCL ever received an SSURO from the EPA. On August 10, this Court
denied Plaintiffs’ TRO request and set an expedited briefing schedule
for Plaintiffs’ preliminary injunction. On October 25, the Court issued
an order advancing the request for a preliminary injunction to a
determination on the merits under Federal Rule of Civil Procedure 65.
However, before the Court can reach the merits of the case, it must first
address standing under Federal Rule of Civil Procedure 12(b)(1).

                         LEGAL STANDARD

   A Rule 12(b)(1) motion “may be raised by a party, or by a court on its
own initiative, at any stage in the litigation, even after trial and the
entry of judgment.” Arbaugh v. Y & H Corp., 546 U.S. 500, 506 (2006).
A court must dismiss the action if it determines that it lacks jurisdiction
over the subject matter. FED. R. CIV. P. 12(h)(3); Stockman v. Fed.
Election Comm'n, 138 F.3d 144, 151 (5th Cir. 1998). “When a Rule
12(b)(1) motion is filed in conjunction with other Rule 12 motions, the
court should consider the Rule 12(b)(1) jurisdictional attack before
addressing any attack on the merits.” Ramming v. United States, 281
F.3d 158, 161 (5th Cir. 2001) (per curiam). A dismissal under Rule
12(b)(1) “is not a determination of the merits,” and it “does not prevent
the plaintiff from pursuing a claim in a court that does have proper
jurisdiction.” Id. Accordingly, considering Rule 12(b)(1) motions first
“prevents a court without jurisdiction from prematurely dismissing a
case with prejudice.” Id.
   A district court may dismiss for lack of subject matter jurisdiction
based on (1) the complaint alone; (2) the complaint supplemented by
undisputed facts in the record; or (3) the complaint supplemented by
undisputed facts plus the court's resolution of disputed
facts. Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981). A motion
to dismiss based on the complaint alone presents a “facial attack” that


                                     2
                                 App. 10
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 14 of 20




requires the court to decide whether the complaint’s allegations, which
are presumed to be true, sufficiently state a basis for subject matter
jurisdiction. See Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir.
1998). If sufficient, those allegations alone provide jurisdiction. Id.

                               ANALYSIS

A. Plaintiffs Have No Article III Standing
   Defendants argue in their Response in Opposition to Plaintiffs’ First
Motion for Preliminary Injunction that Plaintiffs lack Article III
standing. See ECF No. 10 at 21. While Defendants’ subsequent briefing
assumes arguendo that Plaintiffs “may” have Article III standing,
Defendants reserved the right to address Article III standing at a later
stage. ECF No. 18 at 21. The Court is duty-bound to address standing
at this juncture. See Filer v. Donley, 690 F.3d 643, 646 (5th Cir. 2012)
(It is the duty of a federal court to first decide, sua sponte if necessary,
whether it has jurisdiction before the merits of the case can be
addressed).

   “Article III of the Constitution limits federal ‘Judicial Power,’ that is,
federal-court jurisdiction, to ‘Cases’ and ‘Controversies.’” U.S. Parole
Comm'n v. Geraghty, 445 U.S. 388, 395 (1980). “One element of the case-
or-controversy requirement is that [plaintiffs], based on their complaint,
must establish that they have standing to sue.” Raines v. Byrd, 521 U.S.
811, 818 (1997). Similar to other jurisdictional requirements, this
standing requirement cannot be waived. See Lewis v. Casey, 518 U.S.
343, 349 n.1 (1996). The Supreme Court insists upon strict compliance
with the standing requirement. See Raines, 521 U.S. at 811. “Even when
standing is not raised by the parties, the Court must, where necessary,
raise the issue sua sponte.” Reed v. Rawlings, 3:18-CV-1032-B, 2018 WL
5113143, at *3 (N.D. Tex. Oct. 19, 2018) (citing Collins v. Mnuchin, 896
F.3d 640, 654 n.83 (5th Cir. 2018)) (Boyle, J.). Courts are to assess a
plaintiff's “standing to bring each of its claims against each
defendant.” Coastal Habitat Alliance v. Patterson, 601 F. Supp. 2d 868,
877 (W.D. Tex. 2008) (citing James v. City of Dall., 254 F.3d 551, 563
(5th Cir. 2001)).




                                      3
                                  App. 11
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 15 of 20




   A plaintiff must have standing to request a preliminary injunction.
See Speech First, Inc. v. Fenves, 979 F.3d 319, 329 (5th Cir. 2020). To
satisfy the prerequisites of Article III standing, “[the] plaintiff must
have (1) suffered an injury in fact, (2) that is fairly traceable to the
challenged conduct of the defendant, and (3) that is likely to be redressed
by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330,
338 (2016) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61
(1992)). “The plaintiff, as the party invoking federal jurisdiction, bears
the burden of establishing these elements[, and when] a case is at the
pleading stage, the plaintiff must ‘clearly ... allege facts demonstrating’
each element.” Id. (citations omitted); see also Steel Co. v. Citizens for a
Better Env't, 523 U.S. 83, 103–04 (1998). At the pleading stage, general
factual allegations are sufficient to establish standing. See Stallworth v.
Bryant, 936 F.3d 224, 230 (5th Cir. 2019). But, if the allegations are not
sufficient to establish standing, the district court is powerless to create
jurisdiction on its own accord. See Whitmore v. Arkansas, 495 U.S. 149,
155–56 (1990). “[I]f the plaintiff does not carry his burden clearly to
allege facts demonstrating that he is a proper party to invoke judicial
resolution of the dispute, then dismissal for lack of standing is
appropriate.” Hotze v. Burwell, 784 F.3d 984, 993 (5th Cir.
2015) (internal citation omitted).

   I.     Injury In Fact

   The Court first addresses the first prong in Spokeo—injury in fact.
To demonstrate an injury in fact, a plaintiff “must show that [he]
suffered ‘an invasion of a legally protected interest’ that is ‘concrete and
particularized’ and ‘actual or imminent, not conjectural or
hypothetical.’” Spokeo. Inc., 578 U.S. at 339 (quoting Lujan, 504 U.S. at
560). A “particularized” injury “affect[s] the plaintiff in a personal and
individual way.” Id. A “concrete” injury must “actually exist… [the
injury must be] real, and not abstract.” Id. at 340. (cleaned up).

    Here, Plaintiffs have not established how they have suffered an
invasion of a legally protected interest that is either concrete or
particularized. Plaintiffs claim that the royalties they receive from
licensing the right to sell Berkey water filters to Berkey International,
LLC provide them with standing because the diminishing royalties


                                      4
                                  App. 12
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 16 of 20




serve as an injury in fact. See ECF No. 14 at 23–24. This connection is
too attenuated to the EPA’s actions to be considered a “concrete” injury.
Plaintiffs are unable to specify and quantify any potential losses of
royalties beyond mere conclusory statements that such losses would
occur. See generally ECF Nos. 14 and 20. These statements fall far short
of the particularized injury required to establish Article III standing.

   Further, the Court is flummoxed as to why Berkey, a recipient of an
SSURO, has not been impleaded into this case.1 Considering Plaintiffs
acknowledge that the James B. Shepherd Trust has a controlling
interest in both NMCL and Berkey, it makes little sense to the Court
why Plaintiffs would not implead a party that is directly impacted by
the actions at issue, instead of rolling the proverbial standing dice with
a significantly attenuated injury—or better yet, why Berkey has not
filed suit on its own accord against the EPA. Plaintiffs cite an
unreported, out-of-district case to support their argument that owed
royalties serve as grounds for standing. See ECF No. 14 at 23 (citing
Pizza Hut, LLC v. Ronak Foods, LLC, 2022 WL 3544403 (E.D. Tex. June
17, 2022), aff'd sub nom. Pizza Hut L.L.C. v. Pandya, 79 F.4th 535 (5th
Cir. 2023)). However, in Pizza Hut, the “royalties” at issue were
advertising fees that franchisees had to pay in order to receive credit to
offset payment obligations owed to Pizza Hut. See Pizza Hut, LLC, 2022
WL 3544403 at *11–12. Further, in Pizza Hut, the defendants alleged
that Pizza Hut had no standing as to advertising fees because the fees
were payable to the International Pizza Hut Franchise Holders
Association, who were not a party to the case. Id. at 12. The Court held
that Pizza Hut had standing to recover the advertising fees because if
they were not paid to the Franchise Holders Association, the payment
obligations defendants owed to Pizza Hut would not be offset and Pizza
Hut would be owed the amount due in any event. Id. at 39. Thus,

    1
     In a September 12, 2023 Order, the Court instructed Plaintiffs to provide briefing as
to why Berkey International, LLC was not bringing this action as an actual recipient of an
SSURO from the EPA. The Court was perplexed when Plaintiffs provided no rational
explanation, but instead focused on how the two Plaintiffs, neither of whom received an
SSURO, had standing. See ECF Nos. 22 and 23.




                                            5
                                        App. 13
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 17 of 20




payments to the non-party Franchise Holders Association ipso facto
served as payments to Pizza Hut, who was a party to the case.

   This case is different. The case here does not deal with royalties or
fees the defendant owes the plaintiff, but rather potential royalties owed
by a third party to a plaintiff. Further, the royalties in Pizza Hut were
a concrete injury that was enumerated and specified, not merely
hypothesized as is the case here. Id. at 20. The royalties were also tied
directly to the cause of action in that case, not a tangential, conjectural
outcome affecting a third-party. Even further, Plaintiffs cite Pizza Hut
in their Amended Complaint to support the notion that standing can be
achieved based on diminished royalty payments “due to an agency
action.” ECF No. 14 at 23–24. But Pizza Hut never mentions agency
action as a causal factor for the relevant dispute. Thus, the Court sees
no relevance to this out-of-district, unreported case and is unconvinced
there is an injury in fact facing the Plaintiffs here.

   II.    Traceability

   The Court next turns to whether Plaintiffs’ injury is fairly traceable
to Defendants’ challenged conduct. Assuming arguendo that there was
an injury in fact (the Court determined there is not), the supposed injury
that Plaintiffs claim (loss of royalties) must be traceable to the EPA
issuing SSUROs to third-parties. See California v. Texas, 141 S. Ct.
2104, 2113 (2021). The Court determines they are not. There could be a
multitude of reasons as to why Plaintiffs have received diminished
royalties. There could be a change in consumer preferences to water
filters, change in market conditions generally, and as Defendants point
out, a class action lawsuit has been filed against NMCL concerning
Berkey products in this district. See ECF No. 18 at 32; see also Farrell,
et al. v. New Millennium Concepts, LTD, 3:22-cv-728-M (N.D. Tex.)
(Lynn, J., presiding). Plaintiffs offer no substantive evidence to show
that their supposed injury is fairly traceable to the EPA issuing SSUROs
to third parties.

   III.   Redressability

   The Court finally addresses the question of redressability. Here,
Plaintiffs cannot show that a favorable decision would redress Plaintiffs’


                                     6
                                 App. 14
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 18 of 20




supposed injuries. Once again, even assuming Plaintiffs satisfy the first
two prongs of Spokeo, there is no guarantee a stay of the EPA’s issuances
of SSUROs to third parties would increase the royalties that Plaintiffs
receive. As discussed above, there are outside factors that can affect the
sales for which Plaintiffs receive royalties. For example, consumers
could be aware that it took an injunction for the SSUROs to be lifted,
not action taken by the EPA themselves, and still decide to not purchase
Berkey products until they get assurances from the EPA that they are
safe. There is no guarantee an injunction will redress the Plaintiffs’
supposed injury here.

   While the higher courts have done no favors for the district court by
giving them a distinct blueprint to identify standing2, the Court simply
does not see an injury in fact facing the Plaintiffs, cannot fairly trace the
supposed injury to conduct by the EPA, and does not believe granting
an injunction would redress Plaintiffs’ alleged injury. Royalties from
sales from a third party are not enough to support standing and the
Court has found no precedent in this Circuit to find standing under such
circumstances.

   2   Standing jurisprudence has been aptly described as a “morass of
imprecision.” N.H. Rt. to Life Pol. Action Comm. v. Gardner, 99 F. 3d 8, 12 (1st
Cir. 1996). Recent decisions from the Supreme Court on this issue are
notoriously difficult to reconcile. See, e.g., Haaland v. Brackeen, 599 U.S. 255,
277 (2023) (holding that a state lacks standing to challenge federal law
preempting state laws on foster child placement, despite that “Congress's
Article I powers rarely touch state family law.”); contra. Massachusetts, et al.
v. EPA, et al., 549 U.S. 497, 519 (2007) (holding that a state had standing to
challenge the EPA's decision not to regulate emissions of greenhouse gases
because that power was preempted and greenhouse gases affected “the earth
and air within [their] domain”); contra. United States v. Texas, 599 U.S. 670,
671 (2023) (holding that states near an international border lacked standing
to challenge the federal government's immigration enforcement policies
because the state's financial injury was not “legally cognizable”); but see Biden,
et al. v. Nebraska, et al, 143 S. Ct. 2355, 2358 (2023) (holding that Missouri
established standing by showing that it “suffered ... a concrete injury to a
legally protected interest, like property or money”); contra. Dept. of Ed. v.
Brown, 600 U.S. 551, 568 (2023) (holding that individual loan borrowers lacked
standing to allege the federal government unlawfully excluded them from a
one-time direct benefit program purportedly designed to address harm caused
by an indiscriminate global pandemic).



                                        7
                                    App. 15
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 19 of 20




   IV.    NMCL is not “Effectively and Constructively” Stopped

   Plaintiffs also claim the third-party SSUROs “effectively and
constructively” stop NMCL from selling Berkey filtration systems, thus
granting them standing to challenge the SSUROs. ECF No. 23 a 4–5.
However, as the facts stand currently, neither James Shepherd, on
behalf of the James Shepherd Trust, nor NMCL are at the risk of being
held liable by any EPA actions. While Plaintiffs state that NMCL may
become subject to the stop orders, the relief sought is a preliminary
injunction enjoining the EPA from issuing such SSUROs. Id. at 3–4. The
Court is unable to grant relief vis-à-vis existing SSUROs that would
ameliorate a threat of future action. Thus, the Court currently has no
subject matter jurisdiction to any potential claims NMCL might have in
the future. The mere possibility of future harm does not confer Article
III standing. See Clapper, 568 U.S. at 409 (threatened injury must be
certainly impending to constitute injury in fact and allegations of
possible future injury are not sufficient).

B. Plaintiffs Lack Third-Party Standing
   The Supreme Court generally frowns upon third-party standing. A
plaintiff must “assert his own legal rights and interests, and cannot rest
his claims to relief on the legal rights of interests of third parties.” Warth
v. Seldin, 422 U.S. 490, 499 (1975). To invoke third-party standing, a
party must have a close relationship to the holder of the rights and the
holder must face obstacles to bringing the lawsuit personally. See e.g.,
Kowalski v. Tesmer, 543 U.S. 125, 130 (2004); Singleton v. Wulff, 428
U.S. 106, 114–116 (1976) (plurality opinion).

  As discussed above ad nauseum, the Court struggles to understand
why Berkey cannot bring suit on its own behalf for alleged wrongs it has
faced at the hands of the EPA. While Plaintiffs have a close relationship
with Berkey, there is nothing in the record or briefing to suggest that
Berkey, the holder of the rights at issue, cannot bring suit on its own
behalf. Accordingly, the Court finds that Plaintiffs do not have third-
party standing to bring this suit on Berkey’s behalf. If Berkey wants to
challenge the EPA’s actions, it should bring a lawsuit itself, as this
Court signaled in a prior Order. See ECF No. 22.



                                       8
                                   App. 16
Case 3:24-cv-01106-CVR Document 42-2 Filed 04/17/24 Page 20 of 20




C. Conclusion
   Given a preliminary injunction cannot be requested by a plaintiff
who lacks standing, the Court had to first determine whether Plaintiffs
have standing to challenge the EPA’s SSUROs at issue here. See Fenves,
979 F.3d at 329. As explained above, the Court finds that they do not.
Accordingly, this case must be DISMISSED for want of subject matter
jurisdiction.3

   SO ORDERED on this 17th day of November 2023.




                 Mark T. Pittman
                 UNITED STATES DISTRICT JUDGE




   3
     In finding that standing is lacking in this case, the Court is in no way
disparaging, or opining on, Plaintiffs’ claims. Indeed, if true, the claims are
quite concerning. However, it is incumbent on the judicial branch to always
keep in mind its proper role under our Constitution. The concepts of standing
and the case or controversy requirement helps ensure that federal judges “stay
in their lane.” Otherwise, we risk fulfilling Thomas Jefferson’s prediction
written 45 years after he wrote the Declaration of Independence:

       It has long however been my opinion, and I have never shrunk
       from its expression, ... that the germ of dissolution of our federal
       government is in the constitution of the federal judiciary; ...
       working like gravity by night and by day, gaining a little to-day
       and a little tomorrow, and advancing it's noiseless step like a
       thief, over the field of jurisdiction, until all shall be usurped from
       the states, and the government of all be consolidated into one.
       To this I am opposed; because whenever all government,
       domestic and foreign, in little as in great things, shall be drawn
       to Washington as the center of all power, it will render powerless
       the checks provided of one government on another, and will
       become as venal and oppressive as the government from which
       we separated.

Letter from Thomas Jefferson to Charles Hammond (August 18, 1821), in 15
THE WRITINGS OF THOMAS JEFFERSON 330–33 (Albert Ellery Bergh Ed.)
(1905).


                                         9
                                     App. 17
